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                            UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA

                                                                                  ORDER OF TEMPORARY
UNITED STATES OF AMERICA                                                       DETENTION PENDING HEARING
                                                                                     PURSUANT TO
                           v.                                                       BAIL REFORM ACT

JAAP WILLEM LIJBERS
                                                                                           CASE NO. 1:21MJ39



           Upon motion of the plaintiff, it is ORDERED that a detention hearing is set for March 9,

2021, at 2:00 p.m. before Honorable Pamela Meade Sargent, United States Magistrate Judge, at

the United States Courthouse, 180 West Main Street, Abingdon, Virginia.

           Pending this hearing, the defendant shall be held in custody by the United States Marshal

and produced for the hearing.

         ENTER: This 2nd day of March, 2021.




                                                                   s/ Pamela Meade Sargent
                                                                   UNITED STATES MAGISTRATE JUDGE

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If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of the Government, or
up to five days upon motion of the defendant , 18 USC §3142(f)(2).
A hearing is required whenever the conditions set forth in 18 USC §3142(f) are present. Subsection (1) sets forth the grounds that may be
asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the
Government or upon the judicial officer's own motion if there is a serious risk that the defendant (1) will flee or (b) will obstruct or attempt to
obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
